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                                        IN THE UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                                 HARRISON DIVISION

                VINCENT EASTWOOD, Individually, and on
                Behalf of All Others Similarly Situated                                         PLAINTIFF

                                                        NO. 11-3075

                SOUTHERN FARM BUREAU CASUALTY
                INSURANCE COMPANY                                                               DEFENDANT

                            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                        Currently before the undersigned is Plaintiff’s Renewed Motion to Certify Class (Doc.

                53).1 The Defendant has filed a Response (Docs. 55, 56), and the Plaintiff has filed a Reply

                thereto (Doc. 58). For the reasons set forth below, the undersigned recommends that Plaintiff’s

                motion be GRANTED and that the requested class be certified pursuant to Fed. R. Civ. P.

                23(b)(3).

                                                        BACKGROUND

                        On May 24, 2010, Plaintiff Vincent Eastwood was involved in a car accident for which

                he was not at fault. At the time of the accident, Plaintiff was covered under a motor vehicle

                insurance policy issued by Defendant Southern Farm Bureau Casualty Insurance Company.

                Defendant paid the limit of the insurance policy’s $5,000 medical benefit coverage to Plaintiff

                and Plaintiff then made a claim for bodily injury damages against Progressive Insurance

                Company (Progressive), the insurance carrier for the individual at fault in Plaintiff’s car accident.




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                        As will be explained below, Plaintiff’s original motion for class certification was
                denied without prejudice. (Docs. 23, 34, 37.)

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                       The insurance policy issued by Defendant to Plaintiff contained a subrogation provision,

                which provided:

                       When a recipient of benefits under Coverage Medical and Hospital Benefits ...
                       recovers in tort for injury, either by settlement, or by judgement, we will have a
                       right of reimbursement and credit out of the tort recovery or settlement.... We
                       shall have a lien upon said recovery to the extent of our said payments.

                       We shall be entitled to a recovery only after you, or any covered person has been
                       fully compensated for damages.

                (Doc. 54-1 at pg. 12.)

                       In a letter to Progressive dated August 26, 2010, Defendant advised Progressive:

                       Please be advised that we have been called upon to make payment under our
                       insured’s policy for damages incurred in the above referenced accident. Our
                       investigation reveals that the liability in this matter rests with your insured.

                       Our policy affords us the right of subrogation to the extent of any payments
                       made. Therefore, we will be looking to your company for reimbursement.

                       As there may be additional payments made, we ask you to please contact us for
                       the current subrogation amount.

                       If a settlement has already been made with our insured, please provide a copy of
                       the release and a copy of the endorsed draft.

                       Please acknowledge receipt of this demand in writing at your earliest
                       convenience....

                (Doc. 54-2.)

                       Thereafter, Plaintiff, acting without an attorney, settled his claim with Progressive for

                $14,500. According to Plaintiff, after he signed the settlement paperwork, the Progressive

                representative “handed [him] a check for $9,500, and said, ... ‘This is Farm Bureau’s check I am

                sending to them.’” (Doc. 56 Ex. G at pg. 45.) Plaintiff did not say anything in response to the

                Progressive representative because he “didn’t know [he] had any option” at that time. (Id. at pg.


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                59.) Progressive’s records reflect that on November 15, 2010, they issued a check for $5,000

                made payable to Defendant as “subrogee” for Plaintiff. (Doc. 54-3.)

                       Plaintiff contends that Defendant violated Arkansas law, as set forth in Riley v. State

                Farm Mut. Auto Ins. Co., 2011 WL 2410521 (Ark. June 16, 2011), by obtaining subrogation

                from Progressive without either Plaintiff’s agreement or a judicial determination that Plaintiff

                had been made whole.      Plaintiff purports to bring this action on behalf of himself and a class

                of persons similarly situated, seeking the following relief:

                       *       A declaratory judgment that Defendant’s actions of receiving subrogation or

                               reimbursement from its insureds[’] recovery from a third-party tortfeasor prior

                               to a made-whole judicial determination or agreement violates Arkansas law;

                       *       An order demanding that Defendant pay monetary restitution, including pre-

                               judgment and post-judgment interest[] to the Plaintiff, and all proposed class

                               members, of 100% of the subrogated or reimbursed proceeds that Defendant has

                               illegally taken from its insureds; and

                       *       enter an order permanently enjoining Defendant from receiving subrogation or

                               reimbursement from its insureds prior to reaching an informed agreement with

                               its insureds that the insured has been made whole or receiving a judicial

                               determination that the insured has been made whole.

                       In the motion for class certification, Plaintiff seeks to certify the class pursuant to Federal

                Rule of Civil Procedure 23(b)(3), or, alternatively, pursuant to Federal Rule of Civil Procedure

                23(b)(2). Plaintiff identifies the proposed class as residents of the State of Arkansas who, during

                the class period of July 8, 2006 through the date of resolution of this action:


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                        (a) have, had, or were covered under a contract of automobile insurance with
                        Defendant that includes or included an optional “med pay” and/or “PIP”
                        coverage, (b) received a payment from Defendant under such coverage, (c)
                        recovered money th[r]ough settlement or otherwise from a third-party tortfeasor,
                        without the assistance of counsel, and (d) had a portion of such recovery taken
                        by Defendant as subrogation or reimbursement without a judicial determination
                        or agreement that the insured was made whole.

                (Doc. 3 ¶ 22.)

                                                          DISCUSSION

                        To obtain class certification, Plaintiff has the burden of showing that the requirements

                of Rule 23 have been met. Luiken v. Domino’s Pizza, LLC, 705 F.3d 370, 372 (8th Cir. 2013).

                A district court is accorded broad discretion to decide whether certification is appropriate and

                the inquiry may require the court to resolve disputes going to the factual setting of the case,

                which disputes may overlap the merits of the case. Id.

                        Rule 23(a) of the Federal Rules of Civil Procedure sets out four prerequisites for class

                certification:

                        (1)      the class is so numerous that joinder of all members is impracticable;

                        (2)      there are questions of law or fact common to the class;

                        (3)      the claims or defenses of the representative parties are typical of the claims or

                                 defenses of the class; and

                        (4)      the representative parties will fairly and adequately protect the interests of the

                                 class.

                        Once Rule 23(a)’s requirements are met, the class must also show that it meets the

                definition of at least one type of class under Rule 23(b). Moreover, in addition to Rule 23’s

                explicit requirements, there is an implicit requirement that class membership be ascertainable


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                by some objective standard. Haney v. Recall Center, 282 F.R.D. 436, 439 (W.D. Ark. 2012);

                4 F.R.D. 432, 444 (D. Minn. 2012); Walls v. Sagamore Ins. Co., 274 F.R.D. 243, 250-51 (W.D.

                Ark. 2011).

                                                     Ascertainable Class

                       Plaintiff argues that members of the proposed class can be readily identified through

                Defendant’s records. Plaintiff points out that in response to discovery requests, Defendant

                identified approximately 1,300 policyholders2 who met the objective criteria in the class

                definition, and Plaintiff’s counsel’s review of these 1,300 claim files confirmed that there was

                not a single made-whole judicial determination or a single written made-whole agreement.

                Plaintiff maintains that this is corroborated by the deposition testimony of John Bonner,

                Defendant’s Assistant Claims Manager and Federal Rule of Civil Procedure 30(b)(6)

                representative, who could not identify any written made-whole agreements between Defendant

                and its insureds and who testified that Defendant had no manual and/or policy concerning the

                proper protocol for subrogation and/or made-whole determinations.

                       Defendant argues that membership in the proposed class is not ascertainable, as:

                       Evidence produced in discovery and other evidence establishes that an
                       indeterminate number of insureds orally agreed with [Defendant] that they were
                       made whole, without such agreements having been documented in the files.
                       There is also sufficient evidence from which such agreements may be implied.
                       Some insureds endorsed a check that was made payable jointly to [Defendant]
                       and the insured or wrote a separate check to [Defendant] in payment of the


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                         According to Defendant, it initially produced information concerning 1,424
                potentially relevant claims, but subsequently determined that some of these claims did not
                meet one or more of the criteria in the class definition. Defendant concedes that the exact
                number of relevant claims is not material to the issue of class certification (Doc. 56 at pg. 3 &
                n.2), and thus, the undersigned will assume that the potential class consists of approximately
                1,300 insureds.

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                        subrogation amount, implicitly agreeing in fact that they were made whole.

                 (Doc. 56 at pg. 3.)

                        Defendant submits an affidavit from Carrie Sewell, who has worked as a subrogation

                specialist for Defendant since 2002, stating that Defendant does not have a manual or written

                procedures for handling med-pay subrogation and that she received her “training on the job from

                supervisors.” Ms. Sewell states:

                        A claim file rarely documents every conversation with an insured, but in my
                        experience there are various communications that indicate that the insured has
                        decided that he or she is made whole. As the insurer, we rely upon what the
                        insureds tell us about whether they have any more expenses to submit and
                        whether they believe their claim is complete.... If an insured gives any indication
                        that he or she still has medical expenses to submit or that there may be future
                        expenses related to ongoing treatment, [Defendant] works with the insureds
                        either to reduce its subrogation claim or to waive any subrogation altogether. In
                        every claim that I am involved in where there is a potential claim for subrogation,
                        there is open communication with the insured about the subrogation issue, and
                        I never force the insured to agree to a subrogation payment. I carefully listen to
                        the insured, and if I receive any indication from the insured that he or she may not
                        be made whole, I discuss that issue with the insured and do not proceed with
                        accepting subrogation unless I understand that the insured either has no
                        unreimbursed expenses, is not going to incur additional expenses, or has agreed
                        that [Defendant] should receive the subrogation payment.

                (Doc. 56-3.) Ms. Sewell cites fourteen examples of “claims in which the insured was either

                made whole before the subrogation payment was made or there was an understanding between

                the insured and the company’s representative that the insured was made whole, even if those

                words were not expressly used in the conversations.” (Id.) These fourteen examples consist

                primarily of instances when an insured endorsed a check made jointly payable to the insured and

                Defendant, or sent Defendant a personal check for the subrogation amount.




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                        Mr. Bonner, the Assistant Claims Manager designated as Defendant’s Rule 30(b)(6)

                representative, testified that prior to the Riley decision, Defendant’s subrogation procedures

                typically entailed an adjuster sending out a letter notifying the third-party’s insurance carrier, as

                well as the Defendant’s insured, that Defendant “may have a subrogation interest.” Mr. Bonner

                acknowledged that letters sent out in the past, though “[n]ot all of them,” to third-party insurance

                carriers were captioned “Subrogation Lien Notice and Demand Packet” and requested that

                Defendant’s name be included on any settlement draft. (Doc. 56-1 at pg. 7, 15-17.) Mr. Bonner

                also acknowledged that Defendant’s subrogation process did not include entering into a written

                made whole agreement with its insured, nor did it include making a made-whole determination,

                but contended that there could have been a verbal or implied agreement, as explained by Ms.

                Sewell in her affidavit. When asked whether this was speculation, Mr. Bonner acknowledged

                that it was but pointed to a particular claim file in which the subrogation specialist noted a

                conversation the specialist had engaged in with the insured regarding outstanding medical bills,

                and “[n]owhere in there are there any notes that the insured did not agree or would not have

                agreed to us recovering our medical.” (Id. at pg. 10.) When asked whether he would agree that

                in “probably 98 percent of the [1300] claim files sent[,] ... [Defendant] received subrogation back

                from the third party directly,” Mr. Bonner acknowledged, “I don’t doubt that there are many that

                way ...[,] but I don’t know the number.... A large majority.” (Id. at pgs. 11-12.)

                        As stated by this Court is ruling on the parties’ motions for summary judgment, Riley

                stands for the proposition that, absent a judicial determination that an insured has been made

                whole, “only a mutual agreement” between the insured and Defendant about the insured’s made-

                whole status would permit the Defendant to collect a subrogation payment from an insured’s


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                settlement proceeds. The burden of proof is on the Defendant to make an agreement with the

                insured as to the made-whole issue and it does not suffice that the Defendant made its own

                determination that the insured was made whole. (Doc. 38 at pgs. 6-7.) Further, the Court

                rejected the Defendant’s assertion of the defense of estoppel, noting that the Plaintiff had no

                opportunity to object before Defendant appropriated $5,000 of his settlement money. The Court

                reasoned that Defendant bypassed Plaintiff and asserted its claim for subrogation directly with

                the third party insurer, who then issued a check made out to Defendant individually, and the

                check was cashed by Defendant before Plaintiff had the opportunity to object. (Id. n. 1.)

                       The undersigned sees no merit to Defendant’s argument that the proposed class is not

                ascertainable.

                       As to Defendant’s contention that an indeterminate number of insureds orally agreed with

                Defendant that they were made whole without such agreements having been documented in the

                files, Mr. Bonner, Defendant’s corporate representative, acknowledged that this was merely

                speculation. See Agne v. Papa John’s Intern., Inc., 286 F.R.D. 559, 567 (W.D. Wash. 2012) (in

                putative class action alleging defendants violated the law by sending unsolicited text messages,

                defendants’ speculation that customers may have given their express consent to receive text

                message advertising was not sufficient to defeat class certification); Van Sweden Jewelers, Inv.

                v. 101 VT, Inc., 2012 WL 4127824, *4 (W.D. Mich. Sept. 19, 2012) (where plaintiff offered

                evidence that defendants engaged in standardized conduct with regard to class members,

                defendants’ speculation of basis for exclusion for some class members could not defeat class

                certification) . Mr. Bonner could not point to any particular evidence of such an oral agreement

                in the 1,300 claim files provided to Plaintiff’s counsel. Further, the affidavit from Ms. Sewell,


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                a subrogation specialist for the Defendant, stating that “there is open communication with the

                insured about the subrogation issue” and “there are various communications that indicate that

                the insured has decided that he or she is made whole” is inconsistent with Mr. Bonner’s

                testimony. Mr. Bonner acknowledged that letters sent out in the past to third-party carriers, as

                well as to the Defendant’s insureds, were captioned “Subrogation Lien Notice and Demand

                Packet” and requested that Defendant’s name be included on any settlement check. Mr. Bonner

                further acknowledged that Defendant’s subrogation process did not include making a made-

                whole determination and that in a “large majority” – according to Plaintiff’s counsel, up to 98

                percent – of the 1,300 claim files at issue, Defendant received subrogation back directly from

                the third party carrier. Thus, Defendant has not established that there is an indeterminate number

                of insureds in the 1,300 claim files at issue with whom it negotiated and entered into a verbal,

                mutual made-whole agreement. This challenge to the ascertainability of class membership is,

                therefore, rejected.

                        The undersigned likewise sees no merit to Defendant’s argument that class membership

                is not ascertainable because there are instances in which a made-whole agreement can be implied

                – specifically, in instances in which the insured endorsed a check made payable jointly to

                Defendant and the insured, or in which the insured wrote a separate check to Defendant in

                payment of the subrogation amount. The simple fact that an insured endorsed a check or wrote

                a separate check does not establish that the insured entered into an implied made-whole

                agreement with the Defendant. Given Defendant’s practices of sending out lien notices and

                requesting that its name be included on settlement checks, it cannot be said that, by endorsing

                a joint check or writing a separate check for the subrogation amount, the insureds assented to the


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                 subrogation or had a meeting of the minds with the Defendant on the made-whole issue. In fact,

                 the insureds may very well have not known, as the named Plaintiff alleges to have not known,

                 that they “had any option.” An implied agreement cannot be inferred from such circumstances.

                 See K.C. Properties of N.W. Ark., Inc. v. Lowell Inv. Partners, LLC, 373 Ark 14, 29 (Ark. 2008)

                 (both express and implied contracts are founded upon mutual assent of the parties and require

                 a meeting of the minds). Further, again, Mr. Bonner acknowledged that Defendant’s subrogation

                 process did not include making a made-whole determination, and thus, Defendant cannot meet

                 its burden of proof that it made an agreement with the insured as to the made-whole issue by

                 simply relying on the fact the insured endorsed a joint check or wrote a separate check for the

                 subrogation amount.

                         Based upon the foregoing analysis, the undersigned finds that Plaintiff has met his burden

                 of establishing that the proposed class members can be readily ascertained. There are 1,300

                 claims files that have been identified as potentially meeting the objective criteria of the class

                 definition. Plaintiff’s counsel indicates that his review of the 1,300 files confirmed that there is

                 not a single made-whole judicial determination or written made-whole agreement in these files.

                 If there is proof in any of the 1,300 files of an unwritten made-whole agreement with the

                 Defendant, then the insured should be excluded from the class. An endorsed check or a separate

                 check written by the insured for the subrogation amount will not suffice to exclude an insured

                 from the class. Thus, to be excluded from the class, there must be some documentation in the

                 insured’s claim file that the Defendant negotiated the made-whole issue with the insured and they

                 entered into a mutually assented to, verbal made-whole agreement.




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                                                    Rule 23(a)(1) - Numerosity

                         The numerosity requirement of Rule 23(a)(1) requires the Court to consider whether the

                 class is “so numerous that joinder of all members is impracticable.” There are no particular rules

                 governing the necessary size of the class, but the most obvious factor is the number of persons

                 in the proposed class. See Paxton v. Union Nat. Bank, 688 F.2d 552, 559 (8th Cir. 1982). In

                 addition to size, the Court may consider the nature of the action, the size of the individual claims,

                 the inconvenience of trying individual suits, and any other factor relevant to the practicability of

                 joining the putative members. See id. at 559-560.

                         Defendant concedes that at least 1,300 potential class members have been identified and

                 merely argues that the “fact that the proposed class is not ascertainable disposes of the question

                 of numerosity.” (Doc. 56 at pg. 11.) The undersigned has found that class membership is

                 ascertainable as discussed above. Further, Plaintiff alleges that Defendant violated Arkansas law

                 on a class-wide basis by engaging in a practice of obtaining subrogation without a judicial made-

                 whole determination or a made-whole agreement; Plaintiff seeks class-wide relief in the form

                 of reimbursement of subrogated proceeds; the size of each insured’s claim for reimbursement

                 would likely discourage insureds from filing separate lawsuits; and it would certainly be

                 inconvenient to try potentially 1,300 separate lawsuits or to join potentially 1,300 insureds as

                 named plaintiffs.     Accordingly, the undersigned finds that Rule 23(a)(1)’s numerosity

                 requirement is met.

                                                   Rule 23(a)(2) - Commonality

                         “Commonality requires the plaintiff to demonstrate that the class members ‘have suffered

                 the same injury.’” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011). The class


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                 members’ claims “must depend upon a common contention ... [that is] of such a nature that it

                 is capable of class wide resolution – which means that determination of its truth or falsity will

                 resolve an issue that is central to the validity of each one of the claims in one stroke.” Id.

                        Plaintiff alleges that Defendant violated Arkansas law by engaging in a common class-

                 wide practice of collecting subrogation without obtaining a judicial made-whole determination

                 or entering into a made-whole agreement with the insured. Defendant does not appear to

                 challenge Plaintiff’s contention that the commonality requirement has been met.                  The

                 undersigned would note that while Defendant denied having a manual or written procedures for

                 handling subrogation, Mr. Bonner, Defendant’s representative, acknowledged that Defendant’s

                 subrogation process did not include making a made-whole determination and he could not

                 contest that in up to 98 percent of the 1,300 claim files at issue, Defendant received subrogation

                 back directly from the third party carrier. The undersigned, therefore, finds that the commonality

                 requirement has been met, as it appears that Defendant had an unofficial policy of seeking

                 subrogation directly from third party carriers without seeking a judicial determination on the

                 made-whole issue or negotiating a made-whole agreement with its insureds. This unofficial

                 policy forms the basis for the class members’ common claim. See Ross v. RBS Citizens, N.A.,

                 667 F.3d 900, 909-10 (7th Cir. 2012) (bank employees satisfied commonality requirement where,

                 although there might have been slight variations in how bank enforced its overtime policy, class

                 of employees maintained a common claim that bank broadly enforced an unofficial policy

                 denying employees earned-overtime compensation), pet. for cert. filed (Aug. 1, 2012).




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                                      Rule 23(a)(3) and (4) - Typicality and Adequacy

                        The adequacy and typicality requirements of Rule 23 “‘serve as guideposts for

                 determining whether maintenance of a class action is economical and whether the named

                 plaintiff’s claim and the class claims are so interrelated that the interests of the class members

                 will be fairly and adequately protected in their absence.’” In re Milk Products Antitrust

                 Litigation, 195 F.3d 430, 436 (8th Cir. 1999) (quoting Amchem Prods., Inc. v. Windsor, 521 U.S.

                 591 (1997)).

                        Defendant argues that Plaintiff is an inadequate class representative because: (a) he lacks

                 standing to seek declaratory and injunctive relief, as he cancelled his policy with Defendant in

                 September 2010; and (b) his testimony and the history of this litigation indicate a lack of concern

                 for his responsibilities as a class representative and a failure to vigorously pursue the interests

                 of potential class members. The undersigned will address each argument in turn.

                        As to Plaintiff’s standing to seek injunctive relief, Plaintiff seeks an order permanently

                 enjoining Defendant from receiving subrogation in the future without first reaching a made-

                 whole agreement with its insured or obtaining a judicial made-whole determination. Standing

                 to seek injunctive relief requires a plaintiff to show a likelihood of a future injury. See Meuir

                 v. Greene County Jail Employees, 487 F.3d 1115, 1119 (8th Cir. 2007).            As Plaintiff has

                 cancelled his policy with Defendant, he no longer faces a threat of continued harm from the

                 Defendant. Accordingly, the undersigned agrees that Plaintiff does not have standing to seek

                 the requested injunctive relief. See Clark v. Prudential Ins. Co. of America, 736 F. Supp.2d 902,

                 924 (D. N.J. 2010) (dismissing claim for injunctive relief for lack of standing where plaintiff had

                 cancelled her health insurance policy). The undersigned believes that Plaintiff’s claim for


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                 injunctive relief is, therefore, subject to dismissal. This does not, however, render Plaintiff an

                 inadequate class representative, as Defendant already has a duty under Riley to reach a made-

                 whole agreement or obtain a judicial determination prior to collecting subrogation. Thus,

                 injunctive relief requiring the Defendant to do this is unnecessary to protect the interests of the

                 class.

                          As to Plaintiff’s standing to seek declaratory relief, Plaintiff seeks a declaratory judgment

                 that Defendant’s receipt of subrogation prior to a made-whole judicial determination or

                 agreement violates Arkansas law and an order demanding that the subrogated proceeds of the

                 class members be returned to them. To demonstrate standing to seek declaratory relief, a

                 plaintiff must “‘demonstrate that he has suffered [an] injury in fact, that the injury is fairly

                 traceable to the actions of the defendant, and that the injury will likely be redressed by a

                 favorable decision.’” County of Mille Lacs v. Benjamin, 361 F.3d 460, 463 (8th Cir. 2004)

                 (quoting Bennett v. Spear, 520 U.S. 154, 162 (1997)).         Plaintiff alleges that he and the class

                 members suffered an injury traceable to the Defendant’s actions: Plaintiff and the class members

                 had a portion of their insurance recovery illegally taken by Defendant as subrogation. Further,

                 the alleged injury of Plaintiff and the class members can be redressed by a declaratory judgment

                 in their favor declaring Defendant’s actions illegal and requiring the Defendant to reimburse the

                 subrogation payments to Plaintiff and the class members. Accordingly, the undersigned finds

                 that Plaintiff has standing to seek declaratory relief.

                          As to Defendant’s argument that Plaintiff’s testimony and the history of this litigation

                 indicate that he is not an adequate class representative, “[a] named plaintiff who lacks the desire

                 to ‘vigorously pursue’ the interests of potential class members is not a fair and adequate


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                 representative of the class.” In re Milk Products Antitrust Litigation, 195 F.3d at 437. In arguing

                 that Plaintiff is not an adequate class representative, Defendant points to Plaintiff’s deposition

                 testimony, in which he denied having any kind of responsibility for the claims of other class

                 members or for any costs of the lawsuit. Plaintiff further testified, however, that he understands

                 that he is representing a class of “1,300-some-odd people that feel like they were taken advantage

                 of” and “had the same thing happen to them that [he] did,”and that his responsibility to the class

                 members is to “[s]tand up for what’s right.” (Doc. 56 Ex. G at pgs. 83-85.) The undersigned

                 finds that Plaintiff’s deposition testimony reflects that he has “a basic understanding of the class

                 claims as well as an understanding of his . . . duties as the class representative and a willingness

                 to fulfill those duties.” See Foster v. Apache Corp., 285 F.R.D. 632, 645 (W.D. Okla. 2012).

                 The undersigned would also note that Plaintiff’s self-interested pursuit of his own claim for a

                 declaratory judgment and restitution will adequately protect the interests of the class members,

                 who have the same type of claim and would be entitled to the same relief. Id.

                         Defendant argues that Plaintiff’s “extraordinarily long delay in pursuing class

                 certification also indicates a general disregard for the claims of the putative class members and

                 the rules designed to protect their interests.” (Doc. 56 at pg. 14.)    Plaintiff filed his original

                 motion for class certification by the deadline agreed upon by the parties in their Federal Rule of

                 Civil Procedure 26(f) report, which deadline the Court adopted and set out in its final scheduling

                 order. In his original motion, Plaintiff noted that discovery had been requested regarding the

                 claimants from which Defendant collected subrogation, but the discovery had not been received

                 as of the time of the filing of the motion. (Doc. 24 at pg. 7.) After conducted a hearing on the

                 original motion for class certification, the undersigned entered a report and recommendation,


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                 recommending that the motion be denied as premature, as it appeared further discovery was

                 necessary to determine whether the members of the class were readily ascertainable and there

                 were also dispositive motions pending that could impact the issues relating to class certification.

                 (Doc. 34.) The Court, upon Defendant’s motion, thereafter, stayed discovery pending a ruling

                 on the dispositive motions. (Docs. 35.) The Court subsequently entered an order adopting the

                 undersigned’s report and recommendation and denying the original motion for class certification

                 without prejudice. (Doc. 37.) On the same date of that ruling, the Court ruled on the parties’

                 dispositive motions and granted Plaintiff two weeks to file a renewed motion for class

                 certification. (Doc. 38.) The Court subsequently granted Plaintiff’s unopposed motion for an

                 extension of time in which to file the renewed motion for class certification, acknowledging that

                 further discovery was necessary. (Docs. 39-41.) Plaintiff then sought another extension, again,

                 without objection from Defendant, explaining that there was a delay in discovery (which

                 consisted of approximately 20,000 pages of documents) being provided, as opposing counsel had

                 a death in his family. (Doc. 50.) The Court reset the deadline for filing the motion for class

                 certification, and the renewed motion was filed by this deadline. (Doc. 51, 53.)

                        The above history of the litigation does not reflect a lack of diligence on Plaintiff’s part.

                 Delays in filing the current motion for class certification were attributable to the delayed

                 production of discovery, the voluminous nature of discovery, and issues in the dispositive

                 motions that needed to be first addressed. Ultimately, both of Plaintiff’s motions for class

                 certification were filed by the deadlines set by the Court. The undersigned, therefore, sees no

                 merit to Defendant’s argument that Plaintiff has failed to vigorously pursue this action.




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                         Defendant also argues that Plaintiff has “shown a lack of attention to the details of the

                 case.” (Doc. 56 at pg. 13.) Defendant points to the fact that Plaintiff acknowledged that he did

                 not notice that the original complaint referred to him by the wrong name and incorrectly

                 identified him as the passenger rather than the driver; that Plaintiff did not review the second

                 amended complaint currently before the Court before it was filed; and that he did not know why

                 the claim for breach of contract, which was included in the original complaint, was omitted from

                 the second amended complaint. The undersigned, likewise, sees no merit to this argument, as

                 Plaintiff appeared for deposition; he has participated in telephonic and in-person meetings with

                 counsel; he has a basic understanding of the nature of the action; and he has reviewed numerous

                 documents relating to the action. See Powers v. Government Employees Ins. Co., 192 F.R.D.

                 313, 318 (S.D. Fla. 1998) (it is not necessary for named class representative to be

                 knowledgeable, intelligent or have a firm understanding of the legal or factual basis on which

                 the case rests, especially in cases involving complex areas of the law; while named plaintiff was

                 not well-versed in insurance law or the intricacies of her case, this did not warrant a finding that

                 she was inadequate to represent the class, where record revealed that she played an active role

                 in the litigation by appearing for deposition, producing documents and conferring with counsel).

                         Based upon the foregoing, the undersigned finds that Plaintiff has satisfied the typicality

                 and adequacy-of-representation requirements of Rule 23.

                                                        Rule 23(b)(3)’s Requirements

                         As stated above, in addition to meeting the requirements of Rule 23(a), Plaintiff must

                 meet the requirements of one of the provisions of Rule 23(b). Plaintiff seeks certification under




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                 Rule 23(b)(3), or, alternatively, under 23(b)(2). The undersigned finds certification under Rule

                 23(b)(3) appropriate and, therefore, finds it unnecessary to address the requirements of 23(b)(2).

                         Certification under Rule 23(b)(3) is appropriate if: (1) questions of law or fact common

                 to the members of the class predominate over questions affecting only individual members; and

                 (2) a class action is superior to other available methods for the fair and efficient adjudication of

                 the controversy. Predominance under Rule 23(b)(3) parallels Rule 23(a)(2) in that both rules

                 require that common questions exist. However, the predominance criterion under Rule 23(b)(3)

                 is much more demanding. Amchem Prods., Inc., 521 U.S. at 623-24. This rule tests whether the

                 proposed class is “sufficiently cohesive to warrant adjudication by representation.” Id. at 623.

                         When determining whether common questions predominate, a court must
                         conduct a limited preliminary inquiry, looking behind the pleadings, but that
                         inquiry should be limited to determining whether, if the plaintiffs’ general
                         allegations are true, common evidence could suffice to make out a prima facie
                         case for the class. While limited in scope, this analysis should also be rigorous.

                 In re Zurn Pex Plumbing Prod. Liab. Litig., 644 F.3d 604, 618 (8th Cir. 2011) (internal citations

                 and quotation marks omitted), pet. for cert. filed, 80 USLW 3378 (Dec. 15, 2011).

                         Defendant argues that “the need to conduct individual merits determinations on the

                 question whether each insured agreed that he or she was made whole, and to what extent, is a

                 central, individual issue that predominates over common issues.”3 (Doc. 56 at pg. 19.) As stated


                        3
                          Defendant also argues that the facts relevant to its affirmative defense of estoppel are
                 case-specific and predominate over common issues. As stated above, the Court, in ruling on
                 the parties’ dispositive motions, rejected the Defendant’s assertion of the estoppel defense.
                 Defendant argues that the Court erred in its underlying finding that Plaintiff had no
                 opportunity to object before Defendant appropriated $5,000 of his settlement money. The
                 undersigned sees no merit to this argument. As pointed out by the Court, Defendant
                 bypassed Plaintiff and asserted its subrogation claim directly with Progressive and the check
                 was made out to Defendant individually. Further, Plaintiff testified that the Progressive
                 representative specifically advised him, “This is Farm Bureau’s check I am sending to them,”

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                 above, Plaintiff alleges that Defendant engaged in a common practice of collecting subrogation

                 without seeking a judicial determination on the made-whole issue or negotiating a made-whole

                 agreement with its insured. The evidence seems to support that this was a common practice, as

                 Mr. Bonner acknowledged that Defendant’s subrogation process did not include making a made-

                 whole determination and he could not contest that in up to 98% of the 1,300 claim files at issue,

                 Defendant received subrogation back directly from the third party carrier.

                        It, therefore, appears that a common question of whether the Defendant systematically

                 deprived its insureds of any consideration of their made-whole rights predominates over any

                 isolated instances in which there may be evidence that an insured actually entered into a made-

                 whole agreement. As stated above, if there is proof in any of the 1,300 files of such an

                 agreement, then the insured should, in any event, be excluded from the class. Further, the relief

                 Plaintiff is seeking on behalf of the class is (1) a declaratory judgment that Defendant’s

                 collection of subrogation prior to a made-whole judicial determination or agreement violates

                 Arkansas law; and (2) reimbursement of the subrogated proceeds to the class members based on

                 Defendant’s failure to obtain a made-whole judicial determination or agreement. The Plaintiff

                 is not seeking an actual made-whole determination on behalf of the class and the Court has

                 already held that it would be inappropriate to make such a determination in this action. (Doc.

                 38 at pg. 8.) See Diaz v. Blue Cross and Blue Shield of Mont., 267 P.3d 756, 766 (Mont. 2011)

                 (finding common question presented for declaratory and injunctive relief, to which a single

                 answer would affect all class members: could the defendant withhold payment of medical

                 expenses or accept reimbursement of medical expenses paid by a third-party’s insurer before it


                 and that he “didn’t know [he] had any option” to object. (Doc. 56 Ex. G at pg. 59.)

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                 conducted a made-whole analysis? Any individualized determinations regarding whether class

                 members had been made whole would not occur in the context of the class action claim);

                 Ferguson v. Safeco Ins. Co., 180 P.3d 1164, 1169-70 (Mont. 2008) (affirming class certification

                 where plaintiff sought class-wide declaratory relief and order compelling return of subrogation

                 amounts; plaintiff alleged that defendant systematically deprived class members of consideration

                 of their made-whole rights; class claims did not seek a determination of entitlements for each

                 class member and the payment of damages, but, rather, a declaratory ruling that would compel

                 defendant to follow the made-whole legal standard in its subrogation program)4; cf.

                 Vandenbrink v. State Farm Mut. Auto. Ins. Co., 2012 WL 3156596, *3 (M.D. Fla. Aug. 3, 2012)

                 (denying class certification where threshold inquiry was individual in nature – whether the

                 Plaintiffs were made whole through their settlements); Adelstein v. Unicare Life and Health Ins.

                 Co., 2000 WL 35808378, *2 (M.D. Fla. Dec. 27, 2000) (plaintiff sought certification of a class

                 consisting of insureds from whom Defendant had collected subrogation in instances in which

                 proceeds had been insufficient to make whole the insureds; court denied class certification,

                 finding that “made-whole” determination would be class-member specific) (emphasis added).

                 Further, the undersigned notes that if the relief requested is granted on a class-wide basis,

                 Defendant may still pursue a separate judicial determination against any particular insured who

                 Defendant believes was, in fact, made whole.


                        4
                         In Chipman v. Northwest Healthcare Corp., 288 P.3d 193, 206 (Mont. 2012), the
                 Montana Supreme Court noted that since its decisions in Ferguson and Diaz, the
                 commonality requirement had been “significantly tightened” pursuant to the United States
                 Supreme Court’s decision in Dukes. The undersigned believes that even under this
                 “tightened” commonality standard, class certification would have still been granted in
                 Ferguson and Diaz and that these cases, therefore, remain as persuasive authority for the
                 granting of class certification in the instant case.

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                         Finally, in determining whether the superiority requirement of Rule 23(b)(3) is satisfied,

                 the Court must look at four factors: (1) the class members’ interest in individually controlling

                 their separate actions; (2) the extent and nature of existing litigation by class members

                 concerning the same claims; (3) the desirability of concentrating the litigation in the particular

                 forum; and (4) the likely difficulties in the management of a class action. Fed. R. Civ. P.

                 23(b)(3). The class members’ interest in individually controlling their separate actions appears

                 minimal, given the number of potential class members and the relatively small amount of their

                 claims and also given the fact that Plaintiff appears to be an adequate class representative and

                 has diligently pursued this action. Further, the undersigned is not aware of any existing litigation

                 involving the same claims and, given that the class is comprised of Arkansas residents, the

                 Western District of Arkansas appears to be a suitable forum. As to the last factor, this case does

                 not appear to involve exceptional difficulty in managing it as a class action and judicial

                 efficiency considerations favor certification.

                                                          CONCLUSION

                         Based upon the above, the undersigned finds that the requirements of Rule 23(a) and

                 23(b)(3) have been met. The undersigned, therefore, recommends that Plaintiff’s Renewed

                 Motion to Certify Class (Doc. 53) be GRANTED with regard to Plaintiff’s request for

                 declaratory relief. As the undersigned believes that Plaintiff lacks standing to pursue injunctive

                 relief, the undersigned recommends that his claim for injunctive relief be DISMISSED.

                         The undersigned further finds that Plaintiff’s counsel in this case appears capable of fairly

                 and adequately representing the interests of the class. Accordingly, the undersigned recommends




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                 appointing Plaintiff’s counsel that have entered an appearance in this case as class counsel under

                 Fed. R. Civ. P. 23(g).

                        Finally, assuming an order is entered adopting this Report and Recommendation and

                 granting class certification, the undersigned recommends that, in accordance with Rule

                 23(c)(2)(B) of the Federal Rules of Civil Procedure, Plaintiff’s counsel should have 10 days from

                 the date of that order in which to submit a proposed method and form for notifying the class

                 members of this action.

                        The parties have fourteen days from receipt of our report and recommendation in

                 which to file written objections pursuant to 28 U.S.C. 636(b)(1). The failure to file timely

                 objections may result in waiver of the right to appeal questions of fact. The parties are

                 reminded that objections must be both timely and specific to trigger de novo review by the

                 district court.

                        DATED this 19th day of March, 2013.




                                                                /s/ Erin L. Setser
                                                                HONORABLE ERIN L. SETSER
                                                                UNITED STATES MAGISTRATE JUDGE




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